Case 4:24-cv-00953-P      Document 60-1        Filed 01/13/25    Page 1 of 8   PageID 408



                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               Fort Worth Division

 Outsourcing Facilities Association, et al.,

                      Plaintiffs,

        v.                                         No. 4:24-cv-00953-P

 U.S. Food and Drug Administration, et al.,

                      Defendants, and

 Eli Lilly and Company,

                      Intervenor-Defendants.




                  [PROPOSED] STIPULATED PROTECTIVE ORDER

       This Stipulated Protective Order (“Protective Order” or “Order”) is agreed to this

XX day of January, 2025, by the parties in the above-captioned case (the “Action”). The

parties agree, and the Court orders, as follows:

       1.     For purposes of this Protective Order, the term “Confidential

Information” means information that is part of the Administrative Record in this

matter, and which:

       a.     Was submitted to the U.S. Food and Drug Administration (“FDA”) by a

       party or third party who designated the information as confidential; or
Case 4:24-cv-00953-P      Document 60-1       Filed 01/13/25     Page 2 of 8    PageID 409



       b.     Is information subject to the Privacy Act, which limits disclosure of certain

       personal private information; or 18 U.S.C. § 1905, which limits disclosure of, inter

       alia, certain trade secret and confidential commercial information; or

       c.     Is exempt from disclosure pursuant to 5 U.S.C. § 552(b).

       2.     No documents containing, referring to, or otherwise disclosing

Confidential Information shall be publicly filed with the Court. Confidential

Information shall be submitted to the Court under seal in accordance with Local

Rule 79.3. Confidential Information may be filed under seal pursuant to Local Rule

79.3(a) without a motion for leave to file under seal as required under Local Rule

79.3(b). Counsel for the filing party shall be responsible for serving a copy of all sealed

documents and attachments on all other counsel of record.

       3.     Notwithstanding the above, documents that are part of the Administrative

Record, including FDA’s decision memorandum, “Resolution of Tirzepatide Injection

Product Shortage and Supply Status,” dated December 19, 2024, may be provided to the

persons identified in § 4 with Confidential Information unredacted. FDA will mark each

page of each such document as “Confidential, Subject to Protective Order.” Persons

who receive such documents subject to this Protective Order shall treat them as

confidential according to its terms.

       4.     Confidential Information shall not be furnished, shown, or disclosed to

any person except:

       a.     The Court and court personnel;
Case 4:24-cv-00953-P      Document 60-1       Filed 01/13/25     Page 3 of 8    PageID 410



       b.     Employees, agents, and attorneys of FDA and the U.S. Department of

       Health and Human Services pursuant to their regulations and policies and in the

       normal course of business;

       c.     Department of Justice attorneys assigned to this case, as well as those

       attorneys’ supervisor(s) and supporting personnel; or

       d.     Outside counsel of record for Plaintiffs and Intervenor-Defendant in this

       Action and outside counsel of record’s supporting personnel and contract

       vendors, including but not limited to retained experts, paralegals, clerks,

       secretaries, IT personnel, copy vendors, and clerical personnel. With the

       exception of Marc Wagner, Tthis category does not include any attorney or other

       employee at outside counsels’ firms who occupies any position at either of the

       plaintiff organizations.

       5.     Individuals who receive Confidential Information under this Protective

Order shall use it only for purposes directly related to the prosecution or defense of this

litigation, and shall not further disseminate or disclose it to any person not identified in

§ 4.

       6.     In the event that Plaintiffs or Intervenor-Defendant oppose a confidential

designation of a particular document or documents within the Administrative Record,

then all parties shall confer regarding the confidential designation and whether it may

be removed from such document(s) altogether or may be removed subject to the

redaction of specific information within the document(s). If the parties are unable to
Case 4:24-cv-00953-P         Document 60-1    Filed 01/13/25     Page 4 of 8    PageID 411



resolve any dispute regarding a confidential designation informally, the party opposing

the designation may seek intervention by the Court to determine whether a

confidentiality designation shall be overturned. The information shall be treated as

confidential pending a ruling by the Court.

       7.     If Defendants inadvertently produce any documents containing

Confidential Information without labeling or marking or otherwise designating it as

such in accordance with the provisions of this Order, any party may later give written

notice to the other parties that the document contains Confidential Information and

should be treated as such in accordance with the provisions of this Protective Order.

The parties must treat such documents with the noticed level of protection from the

date such notice is received. Disclosure, prior to the receipt of such notice of such

information, to persons not authorized to receive such information shall not be deemed

a violation of this Order.

       8.     Within 60 days after the termination of this Action, including any appeals,

Plaintiffs’ and Intervenor-Defendant’s counsel shall destroy all copies of documents

that contain Confidential Information. The foregoing includes both documents

produced as part of the Administrative Record and any other documents to the extent

that they contain Confidential Information. Notwithstanding the above, counsel of

record for each party may retain archival copies of all documents filed with the Court

(regardless of whether such documents were filed under seal and including, without

limitation, pleadings, motion papers and exhibits thereto, and joint appendices), all
Case 4:24-cv-00953-P       Document 60-1       Filed 01/13/25     Page 5 of 8     PageID 412



discovery responses, all transcripts or other records of court proceedings, and all legal

memoranda, legal correspondence, and attorney work product.

       9.     Notwithstanding any other provision herein, this Protective Order does

not limit the right of a Plaintiff or Intervenor-Defendant to use, disclose, or retain its

own Confidential Information (or, as applicable, the Confidential Information of its

members).

       10.    The inadvertent or unintended disclosure of Confidential Information

shall not be deemed a waiver in whole or in part of the claim of confidentiality for any

Confidential Information.

       11.    The provisions of this Protective Order may be modified at any time by

the Court (including after termination of this Action), upon its own motion or the

motion of any party.

       12.    The provisions of this Protective Order shall take effect immediately.

       13.    Following the termination of this Action, the terms of this Protective

Order shall continue to apply to any Confidential Information retained by any party.

       14.    The Court retains jurisdiction after the termination of this Action to

enforce this Protective Order.

 DATED: JAN. ##, 2025                            Respectfully submitted,

 /s/ DRAFT                                       /s/ DRAFT
 TY DOYLE                                        OLIVER MCDONALD
  Texas Bar No. 24072075                          N.Y. Bar No. 5416789
 BAKER & HOSTETLER LLP                           KIMBERLY R. STEPHENS
Case 4:24-cv-00953-P        Document 60-1   Filed 01/13/25    Page 6 of 8        PageID 413



 811 Main Street, Suite 1100                    N.Y. Bar No. 4656013
 Houston, TX 77002                            DAVID H. HIXSON
 (713) 646-1374                                 Ill. Bar No. 6289751
 tgdoyle@bakerlaw.com                         Trial Attorneys
                                              Consumer Protection Branch
 ANDREW M. GROSSMAN*                          Civil Division
 RICHARD B. RAILE*                            U.S. Department of Justice
 RENEE M. KNUDSEN*                            P.O. Box 386
 MARC N. WAGNER*                              Washington, DC 20044-0386
 BAKER & HOSTETLER LLP                        (202) 305-0168 (McDonald)
 1050 Connecticut Ave., N.W., Suite 1100      (202) 305-0033 (Stephens)
 Washington, D.C. 20036                       (202) 449-8070 (Hixson)
 (202) 861-1697                               (202) 514-8742 (fax)
 AGrossman@bakerlaw.com                       Oliver.J.McDonald@usdoj.gov
                                              Kimberly.R.Stephens@usdoj.gov
 * admitted pro hac vice                      David.H.Hixson@usdoj.gov

 Attorneys for Plaintiffs                     Attorneys for Federal Defendants


                                              /s/ DRAFT
                                              Dee J. Kelly, Jr.
                                              State Bar No. 11217250
                                              KELLY HART & HALLMAN, LLP
                                              201 Main Street, Suite 2500
                                              Fort Worth, TX 76102
                                              Telephone: (817) 332-2500
                                              Facsimile: (817) 878-9280
                                              dee.kelly@kellyhart.com

                                              Paul D. Clement (pro hac vice)
                                              Erin E. Murphy (pro hac vice)
                                              Matthew Rowen (pro hac vice)
                                              CLEMENT & MURPHY, PLLC
                                              706 Duke Street,
                                              Alexandria, VA 22314
                                              Telephone: (202) 742-8900
                                              paul.clement@clementmurphy.com
                                              erin.murphy@clementmurphy.com
                                              matthew.rowen@clementmurphy.com

                                              James F. Hurst (pro hac vice)
                                              Diana M. Watral (pro hac vice)
Case 4:24-cv-00953-P   Document 60-1   Filed 01/13/25    Page 7 of 8    PageID 414



                                         James R.P. Hileman (pro hac vice)
                                         KIRKLAND & ELLIS LLP
                                         333 West Wolf Point Plaza
                                         Chicago, Illinois 60654
                                         Telephone: (312) 862-2000
                                         Facsimile: (312) 862-2200
                                         james.hurst@kirkland.com
                                         diana.watral@kirkland.com

                                         Attorneys for Intervenor-Defendant
                                         ELI LILLY AND COMPANY
Case 4:24-cv-00953-P      Document 60-1       Filed 01/13/25     Page 8 of 8    PageID 415



                              CERTIFICATE OF SERVICE

    I hereby certify that this document, filed through the CM/ECF system, will be sent

via electronic mail to the registered participants as identified on the Notice of Electronic

Filing.


January ##, 2025                                 /s/ DRAFT
                                                 OLIVER MCDONALD
